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                IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION

MICHAEL W. BRANNIES,

        Plaintiff,

V.                                             CASE NO. CV4 14 - 155

INTERNET ROl, INC., d/b/a
American Overlook,

       Defendant.


                                 ORDER

       Before the Court is Defendant Internet ROI, Inc.'s Motion

to Dismiss. (Doc. 7.) For the following reasons, Defendant's

motion is GRANTED and Plaintiff's complaint is                DISMISSED.

Plaintiff's Motion to Amend Complaint is DENIED.' The Clerk of

Court is DIRECTED to close this case.

                                BACKGROUND

        In this case, Defendant owns and operates an online news-

based website. According to Plaintiff's complaint, Defendant's

website included a photograph of Plaintiff above the headline

"VIDEO: Homeless Man Does the Unthinkable to 10-Year-Old Girl

in Public." (Doc. 1, Compi. ¶ 5.) A link under the photograph



' The Court reviewed the proposed amendment to Plaintiff's
complaint. (Doc. 30, Ex. B.) The proposed factual allegations
are nothing more than legal conclusions and would still fail
to establish personal jurisdiction. See Brandt v. Dupree, 252
F.3d 1161, 1163 (11th Cir. 2001) (citing Forman v. Davis, 371
U.S. 178, 182 (1962)) (permitting court to disallow amendment
of complaint where amendment would be futile).
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showed a grainy video of an "unkempt and confused looking

individual entering a restaurant." (Id. ¶ 6.) The video

describes a sexual assault the individual in the video

allegedly committed against a ten-year-old girl. (Id.) While

Plaintiff's photograph appeared above the headline, he was not

the individual depicted in the video. (Id.)

     According to Plaintiff, the photo and associated headline

inferred that Plaintiff was the individual who committed the

sexual assault. (Id.) Based on Defendant's use of the photo,

Plaintiff filed a complaint in the State Court of Chatham

County alleging libel per se and negligent infliction of

emotional distress. (Id.      ¶I 4-14.) Defendant timely removed
the case to this Court. (Doc. 1.)

     In its Motion to Dismiss, Defendant argues that it is not

subject to personal jurisdiction in this Court because it has

never transacted any business in and has no contacts with the

state of Georgia. (Doc. 7 at 3-7.) In this regard, Defendant

reasons that its news-based website, which includes

advertisements, is not sufficient under Georgia law to subject

it to personal jurisdiction in this state. (Id. at 3-6.) In

response, Plaintiff argues this Court has personal

jurisdiction because Defendant transacts and solicits business




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in Georgia given that some Georgia residents either access the

website or follow its advertising links .2 (Doc. 13 at 5-7.)

                                 ANALYSIS

I.     STANDARD OF REVIEW

       In response to a motion to dismiss for lack of personal

jurisdiction when no evidentiary hearing is held, the

plaintiff has the burden of proving a prima facie case of

jurisdiction with respect to the contesting defendant.

Robinson v. Giarmarco & Bill, P.C., 74 F.3d 253, 255 (11th

Cir. 1996) (quoting Madara v. Hall, 916 F.2d 1510, 1514 (11th

Cir. 1990)) . To meet this standard, the plaintiff must present

sufficient evidence concerning jurisdiction to survive a

motion for directed verdict. Id. The complaint's allegations

that are uncontroverted by affidavit are accepted as true, but

when the evidence conflicts, all reasonable inferences are

construed in favor of the plaintiff. Id.

II.    BASIS OF JURISDICTIONAL POWER AND DUE PROCESS LIMITATIONS

       Two separate concepts restrict this Court's exercise of

personal jurisdiction in diversity cases. The first limitation

is that district courts can only assert personal jurisdiction


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  Defendant generates revenue from advertisers based on the
number of visitors to the site and the number of individuals
that follow an advertising link. (Doc. 13 at 5.)
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      over nonresident defendants if doing so would be consistent

      with the long-arm statute of the state in which the court

= sits. Nippon Credit Bank, Ltd. v. Matthews, 291 F.3d 738, 746

      (11th Cir. 2002). Accordingly, this Court has personal

      jurisdiction over a nonresident defendant only if the Georgia

      long-arm statute, O,C.G.A § 9-10-91, so provides.

           The second limitation is that the exercise of personal

      jurisdiction under Georgia's long-arm statute must comport

      with the requirements of constitutional due process. Diamond

      Crystal Brands, Inc. v. Food Movers Int'l, Inc., 593 F.3d 1249

      (11th Cir. 2010) . If minimum contacts are sufficiently

      established, other factors are examined to determine the

      ultimate fairness of asserting personal jurisdiction, such as

      "the burden on the defendant; the forum State's interest in

      adjudicating the dispute; the plaintiff's interest in

      obtaining convenient and effective relief; the interstate

      judicial system's interest in obtaining the most efficient

      resolution of controversies; and the shared interest of the

      several States in furthering fundamental substantive social

      policies." World-Wide Volkswagen Corp. v. Woodson, 444 U.S.

      286, 292, (1980) (citations and quotations omitted)




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      The Georgia Court of Appeals has made clear that the

exercise of general jurisdiction under the Georgia long-arm

statute requires a "continuous and systematic business

contact" with the State of Georgia. Mitsubishi Motors Corp. v.

Colemon, 290 Ga. App. 86, 89, 658 S.E.2d 843, 847 (2008)

Colemon stated the importance of additional factors over and

above the mere minimum contacts required to constitutionally

exercise personal jurisdiction, noting that

      [w] hen the suit does not arise out of the
      defendant's contacts with the forum, the state is
      said to exercise general jurisdiction, and factors
      relevant to the existence of such jurisdiction
      include regularly doing business in the state,
      deriving substantial revenue from goods or services
      in the state, having agents or employees in the
      state, maintaining an office in the state, and
      having subsidiaries or business affiliates in the
      state.

Id.    In this case, the complaint makes no allegations that

would allow this Court to find that Defendant is subject to

general jurisdiction in the State of Georgia.

      Because Defendant is not subject to general jurisdiction,

this Court must now determine whether any aspect of the

Georgia long-arm statute will permit the exercise of specific

personal jurisdiction in this case. The Georgia long-arm

statute provides for specific personal jurisdiction "as to a

cause of action arising from any of the acts [or] omissions,
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• . . enumerated" in the statute. O.C.G.A. § 9-10-91. Georgia

courts applying this language have required that "the cause of

action arise [1   from or [be] connected with the act or

transaction" that forms the basis for haling the defendant

into a Georgia court. ATCO Sign & Lighting Co. v. Stamm Mfg.,

298 Ga. App. 528, 529, 680 S.E.2d 571, 573 (2009); accord

Gateway Atlanta Apartments v. Harris, 290 Ga. App. 772, 779,

660 S.E.2d 750, 757 (2008) . The statute operates with

subsections that specify the types of activities that subject

nonresidents to personal jurisdiction in Georgia's courts.

 The exercise of personal jurisdiction in Georgia requires a

court to find that at least one prong of the long-arm statute

is satisfied." Diamond Crystal, 593 F.3d at 1259. Although

Georgia's statute contains six subsections providing for

jurisdiction, Plaintiff argues only that O.C.G.A. § 9-10-91(1)

and (3) provide this Court with personal jurisdiction over

Defendant. (Doc. 13 at 5-9.)

     Subsection one of the Georgia long-arm statute grants

personal jurisdiction over a nonresident if he or she

"transacts any business within this state," O.C.G.A. § 9-10-

91(1), while subsection three provides for personal

jurisdiction where a nonresident "[c]ommits a tortious injury
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in this state caused by an act or omission outside this state

if the tort-feasor regularly does or solicits business, or

engages in any other persistent course of conduct, or derives

substantial revenue from goods used or consumed or services

rendered in this state," id. § 9-10-91 (3) . A nonresident

"transacts any business" in Georgia if

     (1) the nonresident defendant has purposefully
         done some act or consummated some transaction
         in [Georgia],
     (2) if  the cause of action arises from or is
         connected with such act or transaction, and
     (3) if the exercise of jurisdiction by the courts
         of this state does not offend traditional
         fairness and substantial justice.

Aero Toy Store, LLC v. Grieves, 279 Ga. App. 515, 517-18, 631

S.E.2d 734, 737 (2006) . In this case, Plaintiff cannot

establish that his claim arose from or was connected to some

act or consummated transaction that occurred in Georgia. The

alleged misconduct arose out of Defendant's placement of the

photo on its news-based website, not the advertisements

included on that website. See Henriguez                 V.   El Pais

Q'Hubocali.com, 500 Fed. App'x 824, 828 (11th Cir. 2012)

("Henriquez's defamation claims arose out of the defendants'

publication of defamatory news articles on their websites, not

the defendants' placement of advertisements from U.S. companies

on their websites. Thus, the district court could not exercise
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personal jurisdiction under subsection (1) of Georgia's long-

arm statute . . . •"). Even prior to the advent of the

internet, Georgia courts recognized that circulation of

advertisements in Georgia was insufficient to confer personal

jurisdiction under subsection one of Georgia's long-arm

statute, even where the advertiser later negotiated and

contracted with a Georgia resident. See Flint v. Gust, 180 Ga.

App. 904, 905-06, 351 S.E.2d 95, 96 (1986) ("It is well settled

that an out-of-state defendant will not be deemed to have

engaged in purposeful business activity in this state merely

because he has advertised products for sale in national trade

magazines circulating in this state and has accepted orders for

such products which have been transmitted to him from this

state by mail, telephone, or other instrumentality of

interstate commerce in response to such advertisements.");

Phears v. ]Joyne, 220 Ga. App. 550, 551, 470 S.E.2d 236, 237

(1996). Certainly if advertising and actually selling products

to Georgia residents does not confer personal jurisdiction, the

mere inclusion of third-party advertising directed toward

Georgia residents on a news-based website is woefully

insufficient to subject the website's content provider to

personal jurisdiction in Georgia.

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     Similarly, O.C.G.A. § 9-10-91(3) fails to confer this

Court personal jurisdiction over Defendant. Subsection three of

the long-arm statute requires Plaintiff to show that Defendant

  'regularly' conducted or solicited business in Georgia, or

derived 'substantial revenue from goods used or consumed or

services rendered' in Georgia." Henriquez, 500 Fed. App'x at

828-29 (quoting O.C.G.A. § 9-10-91(3)). A website owner placing

advertisements on its website that are viewable in Georgia, or

even advertise Georgia businesses, still lacks sufficient

contacts with Georgia to establish personal jurisdiction under

subsection three. Id. at 829. In this case, Plaintiff has

failed to establish that Defendant "actually conducted or

solicited business in Georgia, much less on a regular basis, or

that [Defendant] derived substantial revenue from goods used or

services rendered in Georgia." Id. Because Plaintiff has not

proved even a prima facie case of personal jurisdiction,

Defendant's Motion to Dismiss must be GRANTED.

     In his response, Plaintiff relies on Aero Toy Store for

the notion that deriving revenue from Georgia residents based

on website advertisements is sufficient to confer personal

jurisdiction. (Doc. 13 at 8-9.) In Aero Toy Store, the

defendant operated an interactive website designed to sell
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automobiles that it personally shipped. 279 Ga. App. at 523,

631 S.E.2d at 740. Based on the interactive nature of the

website, the substantial revenue generated, and the defendant's

shipping of the vehicle to Georgia, the court in Aero Toy Store

concluded that the defendant had "sufficient minimum contacts

with this state to warrant exercise of personal jurisdiction

over it in this case." Id. at 523-24, 631 S.E.2d at 741.

     However, the defendant's activities in Aero Toy Store are

grossly dissimilar from Defendant's conduct in this case. Here,

Defendant simply operates a news-based website that includes

third-party advertising. Defendant neither transacts any direct

business in Georgia nor sells any products to Georgia

residents. Even assuming that some of Defendant's revenue is

based on Georgia residents following advertising links and that

the website includes advertisements for Georgia businesses,

Defendant still does not have sufficient minimum contacts with

Georgia to subject it to personal jurisdiction. See Henriguez,

500 Fed. App'x at 828-29.

                              CONCLUSION

     For the foregoing reasons, Defendant's Motion to Dismiss

(Doc. 7) is GRANTED and Plaintiff's complaint is DISMISSED.




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Plaintiff's Motion to Amend Complaint is DENIED. The Clerk of

Court is DIRECTED to close this case.

     SO ORDERED this /3day of March 2015.




                                 WILLIAM T. MOORE,
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




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